
                                                                    



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-04-358-CV



ARLINGTON INDEPENDENT	APPELLANT

SCHOOL DISTRICT



V.



TXU ENERGY RETAIL CO., L.P.	APPELLEE





------------

FROM THE 352ND
 
DISTRICT COURT OF TARRANT COUNTY

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MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

----------

We have considered “Appellant’s Motion To Dismiss Appeal.” &nbsp;It is the court's opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See 
T
EX.
 R. A
PP.
 P. 42.1(a)(1), 43.2(f).

Costs of the appeal shall be paid by the party incurring the same, for which let execution issue.



PER CURIAM	



PANEL D:	DAUPHINOT, GARDNER and WALKER, JJ.



DELIVERED: March 10, 2005

FOOTNOTES
1:See 
Tex. R. App. P. 47.4.




